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                             Nebraska Court of Appeals Advance Sheets
                                  33 Nebraska Appellate Reports
                                                 STATE V. LANGLEY
                                                Cite as 33 Neb. App. 297



                                        State of Nebraska, appellee, v.
                                        William B. Langley, appellant.
                                                     ___ N.W.3d ___

                                        Filed December 26, 2024.   No. A-23-1039.

                 1. Motions to Suppress: Trial: Pretrial Procedure: Appeal and Error.
                    When a motion to suppress is denied pretrial and again during trial on
                    renewed objection, an appellate court considers all the evidence, both
                    from the trial and from the hearings on the motion to suppress.
                 2. Constitutional Law: Search and Seizure: Motions to Suppress:
                    Appeal and Error. In reviewing a trial court’s ruling on a motion to sup-
                    press evidence based on a claimed violation of the Fourth Amendment,
                    an appellate court applies a two-part standard of review. Regarding
                    historical facts, an appellate court reviews the trial court’s findings for
                    clear error, but whether those facts trigger or violate Fourth Amendment
                    protections is a question of law that an appellate court reviews indepen-
                    dently of the trial court’s determination. And where the facts are largely
                    undisputed, the ultimate question is an issue of law.
                 3. Constitutional Law: Search and Seizure: Warrantless Searches. Both
                    the Fourth Amendment to the U.S. Constitution and article I, § 7, of the
                    Nebraska Constitution guarantee against unreasonable searches and sei-
                    zures. Searches without a valid warrant are per se unreasonable, subject
                    only to a few specifically established and well-delineated exceptions.
                 4. Constitutional Law: Search and Seizure: Duress. Generally, to be
                    effective under the Fourth Amendment, consent to a search must be a
                    free and unconstrained choice, and not the product of a will overborne.
                 5. Constitutional Law: Search and Seizure. The determination of whether
                    the facts and circumstances constitute a voluntary consent to a search,
                    satisfying the Fourth Amendment, is a question of law.
                 6. Search and Seizure. Whether consent to a search was voluntary is to be
                    determined from the totality of the circumstances surrounding the giving
                    of consent.
                 7. ____. Consent to a search may be implied by action rather than words.
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          Nebraska Court of Appeals Advance Sheets
               33 Nebraska Appellate Reports
                             STATE V. LANGLEY
                            Cite as 33 Neb. App. 297
 8. Warrantless Searches: Minors. When the State relies upon a minor’s
    third-party consent to justify a warrantless search, the child’s age, intel-
    ligence, and maturity are critical on the voluntariness issue, on the
    question of whether the child possessed common authority over or other
    sufficient relationship to the area or thing sought to be inspected, and
    on whether the searching party reasonably believed the child possessed
    authority to consent even if it is later demonstrated that the child did not
    possess such authority.
 9. Evidence: Appeal and Error. The erroneous admission of evidence is
    harmless error and does not require reversal if the evidence is cumula-
    tive and other relevant evidence, properly admitted, supports the finding
    by the trier of fact.

   Appeal from the District Court for Scotts Bluff County: Leo
P. Dobrovolny, Judge. Affirmed.
  Jessica R. Meyers, Chief Deputy Scotts Bluff County Public
Defender, for appellant.
  Michael T. Hilgers, Attorney General, and Melissa R.
Vincent for appellee.
   Riedmann, Chief Judge, and Moore and Welch, Judges.
   Moore, Judge.
                       INTRODUCTION
   William B. Langley appeals from his conviction in the dis-
trict court for Scotts Bluff County for possession of a firearm
by a prohibited person. His sole assignment of error is that the
court erred in denying his motion to suppress evidence located
in a search of his residence. For the reasons contained herein,
we affirm.
                    STATEMENT OF FACTS
   On February 6, 2023, Langley was charged by information
with two counts of possession of a firearm by a prohibited
person, both Class ID felonies. The counts concerned a hand-
gun and a rifle, respectively. Because Langley was ultimately
acquitted of the count concerning the rifle, we will not recite
facts related to that count.
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        Nebraska Court of Appeals Advance Sheets
             33 Nebraska Appellate Reports
                        STATE V. LANGLEY
                       Cite as 33 Neb. App. 297
   On September 27, 2023, Langley filed a motion to suppress
“all fruits of the illegal search” of his home by Robert Hackett,
a sergeant with the Scotts Bluff County sheriff’s office and
the chief of police for Lyman, Nebraska. Langley alleged that
the search was unconstitutional, because Hackett returned to
Langley’s home without a warrant and after Langley had been
arrested; thus, Langley was not home to consent to a search.
   A hearing on the motion to suppress was held on October 3,
2023. The following evidence was adduced.
   Leif Swan, a probation officer, testified that he began super-
vising Langley in January 2021 with respect to three criminal
cases that were transferred to Nebraska from Colorado through
the “Interstate Compact Defender Tracking System.”
   Langley’s three probation orders detailing the conditions of
his probation were entered into evidence. Pursuant to Langley’s
probation orders, he was prohibited from consuming alcohol
and possessing or having access to firearms. He was also
required to submit to searches of his residence by “the pro-
bation officer when there are reasonable grounds to search.”
Swan was a “high risk officer,” meaning that his minimum
required contacts with a probationer include at least one home
visit, one phone call, and one office meeting a month.
   On the morning of January 17, 2023, Swan called Langley
to schedule a meeting to discuss enrolling Langley in vari-
ous classes. A few minutes into the phone call, Swan noticed
that Langley was slurring his words and began to suspect
that Langley was under the influence of alcohol. Based upon
Swan’s suspicion that Langley was intoxicated, he and another
probation officer went to Langley’s residence to administer a
preliminary breath test to Langley. Langley submitted to the
preliminary breath test, which yielded a result of “.279.”
   Inside Langley’s residence, Swan saw an alcohol container
sitting on the kitchen counter. Swan then initiated a search
“just to get rid of any alcohol [that] might still be there.” Swan
informed Langley that he would be searching his residence but
did not ask Langley for permission given that Langley had a
“search and seizure clause” in his probation orders.
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        Nebraska Court of Appeals Advance Sheets
             33 Nebraska Appellate Reports
                       STATE V. LANGLEY
                      Cite as 33 Neb. App. 297
   Inside a dresser drawer in Langley’s bedroom, Swan found
an empty manufacturer box for a “Taurus 9mm” handgun,
along with some empty alcohol containers. When Swan asked
Langley where the gun was located, Langley provided “multi-
ple different stories,” including that the empty box was garbage
and had come with the dresser and that various individuals
were in possession of the gun.
   Swan was concerned that he had found the handgun box but
not the handgun itself, as Swan thought that Langley’s son,
born in October 2005, may have access to the handgun. Swan
text messaged a photograph of the handgun box to Hackett,
who asked if Langley was a felon. Swan replied in the affirma-
tive. Hackett then responded that he had dispatched officers to
Langley’s home.
   Video footage from a body camera worn by a dispatched
officer was entered into evidence. The body camera footage
shows officers searching Langley’s and his son’s bedrooms;
however, a handgun was not recovered. The footage indicates
that no one except Langley and law enforcement officers were
inside the residence at the time. Langley was arrested and
taken to jail, and the empty residence was locked.
   Hackett testified that when he received Swan’s phone call,
he was working for the sheriff’s office. Later that evening, he
went to Langley’s residence in his professional role with the
Lyman Police Department. Hackett testified that when he went
to the residence, he was aware that Langley had already been
arrested. Hackett did not visit Langley at the jail to obtain his
consent to search his home.
   When Hackett went to Langley’s residence, there were no
other law enforcement officers present. Langley’s son, as well
as Langley’s girlfriend and her mother, were inside the home.
Hackett was aware that neither woman lived at the residence
and that the son was a minor at the time. Swan later testi-
fied that he had contacted the son, who arranged to stay with
Langley’s girlfriend and her mother. The three were inside the
residence that evening to collect the son’s items.
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        Nebraska Court of Appeals Advance Sheets
             33 Nebraska Appellate Reports
                       STATE V. LANGLEY
                      Cite as 33 Neb. App. 297
   Footage from Hackett’s body camera on the evening of
January 17, 2023, was entered into evidence. Hackett’s body
camera footage was played during the hearing, and Hackett
provided testimony consistent with the video. Hackett testified
that when he approached Langley’s residence, he knocked on
the door and someone from inside the residence told him he
could come in. Hackett testified that a jailhouse phone call
between Langley and his girlfriend confirmed that the girl-
friend had told Hackett he could enter the residence.
   The body camera footage shows that as Hackett stepped
inside, Langley’s son emerged from the back of the residence
and greeted him. On the video, Hackett can be heard say-
ing, “Leif called you. We’re worried about a gun.” The girl-
friend’s mother then led Hackett into the living room, where
she handed Hackett a locked silver case and stated that the
son had last seen the handgun inside of the case. The son
stated to Hackett, “I’m fairly confident the gun’s in there.”
The girlfriend’s mother also told Hackett that she and the son
had looked inside of Langley’s truck and a few other locations
where Langley had previously hidden items, but they were
unable to find the handgun.
   The body camera footage then shows that the girlfriend’s
mother received a call from Swan, and she handed her phone
over to Hackett. On the phone, Hackett told Swan that he
decided to “stop by” the residence because he could see that
people were inside. Hackett informed Swan that a locked gun
case had been found inside the residence. Hackett told Swan
that he assumed probation rules would allow Swan to open
the locked case but that “probation rules are different than
. . . my rules.” Swan informed Hackett that “I’m allowed to
give you permission.” Swan then authorized Hackett to seize
the case.
   The body camera footage shows that the son and girlfriend
continued to search the residence for the gun. Hackett testi-
fied that he did not open any drawers or cabinets in Langley’s
home. The body camera footage is consistent with Hackett’s
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        Nebraska Court of Appeals Advance Sheets
             33 Nebraska Appellate Reports
                       STATE V. LANGLEY
                      Cite as 33 Neb. App. 297
testimony and shows him looking in areas of the residence
after they have been opened by the son. The son also offered
Hackett his house key so that Hackett could later return to the
residence on his own. Hackett declined the house key from
the son, explaining that probation may come back for an addi-
tional search, but that Hackett was only inside the residence
because he had been invited in. Hackett testified that no one in
the residence asked him to leave or indicated that they did not
wish to speak to him.
   Hackett testified that the following day, he and Swan spoke
with Langley at the jail about the locked silver case. Langley
stated that the firearm and ammunition were likely in the case
and that he did not know the combination to the case as it
belonged to a friend. Hackett then obtained a search warrant to
open the locked silver case. Because Langley did not know the
combination, the case was forced open at the sheriff’s office.
Inside the case, Hackett found two magazines, shotgun shells,
and a “Taurus 9 mm” that matched the serial number of the
manufacturer box discovered by Swan.
   In an order filed on October 16, 2023, the district court
denied Langley’s motion to suppress. The court first found that
the activity which led to concern about a handgun was permit-
ted as authorized by the search clause in a probation order,
which was binding on Langley. The court found that after
Langley was arrested, Hackett was later checking on the home
and stopped after seeing someone was there. The court found
that Hackett was granted entry into the home by someone with
apparent authority to admit him and that there was no objection
by the son or anyone else to his presence. The court concluded
that Hackett did not infringe upon a legitimate expectation of
privacy or intrude on a protected area.
   Additionally, the district court determined that no search
was conducted by Hackett; rather, he made a general inquiry
about the handgun, at which time the locked gun case was
“simply presented to Officer Hackett after his inquiry - he
did nothing other than come in the door after being invited
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        Nebraska Court of Appeals Advance Sheets
             33 Nebraska Appellate Reports
                       STATE V. LANGLEY
                      Cite as 33 Neb. App. 297
to do so, and ask about a handgun.” The court noted that
someone at the residence apparently searched for and found
the locked case, which was not found during the earlier proba-
tion search. The court concluded that Hackett’s entry into the
home was not a search and that if there was a search, it was
done by someone other than law enforcement, so the Fourth
Amendment was not implicated. Thereafter, the case was
opened and the gun discovered pursuant to a “properly issued
warrant signed by a Nebraska judge.”
   At a jury trial held on October 24, 2023, Swan and Hackett
testified regarding their efforts to recover the handgun. When
the State later offered the handgun into evidence, Langley
objected based on his motion to suppress, and the district court
overruled the objection.
   The State also offered Hackett’s body camera footage from
Hackett’s conversation with Swan and Langley on January 18,
2023. On the body camera footage, Hackett asked Langley
whether his DNA would be on the handgun, to which Langley
answered, “Probably.” Langley also told Hackett that he had
acquired the gun for protection after a police officer had been
attacked in Langley’s neighborhood. Langley did not object to
Swan’s and Hackett’s testimony about the handgun, nor did he
object to his custodial statement to Hackett.
   The case was submitted to the jury, which found Langley
guilty of one count of possession of a firearm by a prohibited
person, concerning the handgun. Langley was found not guilty
of the count concerning the rifle. The district court accepted
the jury’s verdict and convicted Langley of the offense. The
court later sentenced Langley to a term of 3 to 3 years’
imprisonment.
   Langley appeals.
                 ASSIGNMENT OF ERROR
   Langley assigns that the district court erred in concluding
that no search occurred and thereby denying Langley’s motion
to suppress.
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        Nebraska Court of Appeals Advance Sheets
             33 Nebraska Appellate Reports
                        STATE V. LANGLEY
                       Cite as 33 Neb. App. 297
                    STANDARD OF REVIEW
   [1] When a motion to suppress is denied pretrial and again
during trial on renewed objection, an appellate court considers
all the evidence, both from the trial and from the hearings on
the motion to suppress. State v. Hammond, 315 Neb. 362, 996
N.W.2d 270 (2023).
   [2] In reviewing a trial court’s ruling on a motion to sup-
press evidence based on a claimed violation of the Fourth
Amendment, an appellate court applies a two-part standard of
review. Regarding historical facts, an appellate court reviews
the trial court’s findings for clear error, but whether those facts
trigger or violate Fourth Amendment protections is a question
of law that an appellate court reviews independently of the trial
court’s determination. And where the facts are largely undis-
puted, the ultimate question is an issue of law. Id.
                          ANALYSIS
   Langley argues that Hackett violated his Fourth Amendment
rights by entering his home without authorized consent.
Specifically, Langley asserts that the girlfriend did not have
authority to invite Hackett into Langley’s residence and that
because Hackett did not obtain permission from the son, his
entry into the residence was an unlawful search and any evi-
dence seized as a result of that search should be suppressed.
   [3-7] Both the Fourth Amendment to the U.S. Constitution
and article I, § 7, of the Nebraska Constitution guarantee
against unreasonable searches and seizures. Searches without
a valid warrant are per se unreasonable, subject only to a
few specifically established and well-delineated exceptions,
which include searches undertaken with consent. See State v.
Hammond, supra. Generally, to be effective under the Fourth
Amendment, consent to search must be a free and uncon-
strained choice, and not the product of a will overborne. Id.The determination of whether the facts and circumstances
constitute a voluntary consent to search, satisfying the Fourth
Amendment, is a question of law. Id. Whether consent to a
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        Nebraska Court of Appeals Advance Sheets
             33 Nebraska Appellate Reports
                       STATE V. LANGLEY
                      Cite as 33 Neb. App. 297
search was voluntary is to be determined from the totality
of the circumstances surrounding the giving of consent. Id.Consent to a search may be implied by action rather than
words. Id.   In this case, the district court did not make any specific
findings regarding whether consent to search was obtained, or
whether any other exception to the prohibition against war-
rantless searches applied. Rather, the court found that there
was not a search. In its order denying the motion to suppress,
the court first noted that the initial probation search was law-
ful and was not challenged. The court then found that Hackett
was later checking the home, which was last known to be
empty, and observed that someone was there, so he stopped
and approached the residence. The court found that Hackett
requested and was granted entry by someone with apparent
authority to admit him. The court found that the son entered
the room at the same time as Hackett and did not object to
Hackett’s presence. The court found that no search was con-
ducted by Hackett; rather, he simply made a general inquiry
about the handgun, at which time the girlfriend handed him the
locked case that someone other than law enforcement had dis-
covered and brought forth. The minor son reported to Hackett
that the last time he saw the gun, it was placed in the case.
Thereafter, the case was opened, and the gun was discovered
pursuant to a properly issued warrant.
   This case presents two questions: whether Hackett had per-
mission to enter Langley’s residence and whether Hackett
thereafter performed a search. See, State v. Bond, 23 Neb. App.
916, 877 N.W.2d 254 (2016), disapproved on other grounds,
State v. Hammond, 315 Neb. 362, 996 N.W.2d 270 (2023);
State v. Turner, 23 Neb. App. 897, 880 N.W.2d 403 (2016)
(analyzing consent to enter residence and consent to search
separately), disapproved on other grounds, State v. Hammond,
supra. The State asserts that consent was given to Hackett to
enter the residence, which led to the discovery of the silver
gun case that was eventually found to contain a handgun. We
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        Nebraska Court of Appeals Advance Sheets
             33 Nebraska Appellate Reports
                       STATE V. LANGLEY
                      Cite as 33 Neb. App. 297
will first focus on the question of whether consent to enter
the residence was given to Hackett. Generally, absent exigent
circumstances, a law enforcement officer must have a warrant
or consent to enter a person’s home. See State v. Resler, 209
Neb. 249, 306 N.W.2d 918 (1981). Consent must be a free and
unconstrained choice, and not the product of a will overborne.
See State v. Tucker, 262 Neb. 940, 636 N.W.2d 853 (2001),
disapproved on other grounds, State v. Hammond, supra.   [8] Langley was not present when Hackett returned to
Langley’s residence the second time and therefore could not
have given consent for Hackett to enter the residence. The
State asserts that Langley’s son was present and gave consent.
In the context of consent to search, when the prosecution seeks
to justify a warrantless search by proof of voluntary consent, it
is not limited to proof that consent was given by the defendant
but may show that the permission to search was obtained from
a third party who possessed common authority over or other
sufficient relationship over the premises or effects sought to
be inspected. See State v. Andera, 307 Neb. 686, 950 N.W.2d
102 (2020). When the State relies upon a minor’s third-party
consent to justify a warrantless search, the child’s age, intel-
ligence, and maturity are critical on the voluntariness issue, on
the question of whether the child possessed common authority
over or other sufficient relationship to the area or thing sought
to be inspected, and on whether the searching party reasonably
believed the child possessed authority to consent even if it is
later demonstrated that the child did not possess such author-
ity. State v. Butzke, 7 Neb. App. 360, 584 N.W.2d 449 (1998),
disapproved on other grounds, State v. Hammond, supra.   As noted by the State, Langley’s son was present in the
residence when Hackett returned. Though Langley’s girlfriend
was the individual who invited Hackett to come inside after
he knocked on the residence, Hackett’s body camera footage
demonstrates that as Hackett stepped inside, the son emerged
from the back of the residence and greeted him. The son did
not object to Hackett’s presence or ask him to leave.
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        Nebraska Court of Appeals Advance Sheets
             33 Nebraska Appellate Reports
                       STATE V. LANGLEY
                      Cite as 33 Neb. App. 297
   Langley does not argue that the son, who was 17 years
old on the day in question, was not sufficiently mature to
grant consent. Hackett can be heard on his body camera foot-
age asking the son about his plans to join the military after
graduating from high school. The son was able to answer
Hackett’s questions intelligently and completely. Thus, the
record confirms that the son was of an age and maturity to
voluntarily grant consent for Hackett to enter the residence.
A review of Hackett’s body camera footage also establishes
that the son possessed common authority over the premises.
The girlfriend’s mother stated that the group was back at the
residence so that the son could pack his items to stay with
the girlfriend and her mother during Langley’s incarceration,
which the son affirmed.
   Based upon the foregoing facts, we agree with the district
court that Hackett entered the residence with consent. We
further agree with the district court that after entering the
residence, the resulting recovery of the gun case was not the
result of a search by Hackett. The record shows that the son
was aware that law enforcement wanted to recover the gun and
that the son, along with Langley’s girlfriend and her mother,
had continued to search for the gun after Swan and other law
enforcement officers earlier left the residence. Shortly after
Hackett entered the residence, he was handed the locked gun
case by the girlfriend’s mother as the son informed Hackett that
he was confident the handgun was inside the case.
   Although the son continued to search for the gun and led
Hackett into various rooms of the residence, the gun was not
recovered at that time. A warrant was later obtained to gain
entry into the locked gun case, which entry resulted in discov-
ery of the gun that matched the description of the manufac-
turer box initially found in Langley’s dresser.
   The evidence from both the suppression hearing and trial
demonstrates that Hackett entered the residence with the son’s
consent and that the recovery of the locked gun case was not
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        Nebraska Court of Appeals Advance Sheets
             33 Nebraska Appellate Reports
                       STATE V. LANGLEY
                      Cite as 33 Neb. App. 297
the result of a search by Hackett. Therefore, we conclude that
the district court properly denied Langley’s motion to suppress.
   [9] Additionally, even if the district court erred by denying
Langley’s motion to suppress, such an error would be harm-
less. The erroneous admission of evidence is harmless error
and does not require reversal if the evidence is cumulative
and other relevant evidence, properly admitted, supports the
finding by the trier of fact. State v. Rush, 317 Neb. 622, 11
N.W.3d 394 (2024).
   Though at trial Langley objected to the State’s offer of the
handgun into evidence, he offered no objection to Swan’s or
Hackett’s testimony regarding their respective effort to recover
the handgun. Nor did Langley object to the State’s offer of
Hackett’s body camera footage, which included his custodial
statement to Hackett. Here, the testimony of Swan and Hackett,
as well as Langley’s admission that he owned the handgun,
independently supported his conviction. Therefore, the admis-
sion of the handgun was cumulative.
                         CONCLUSION
   Having found that law enforcement entered Langley’s resi-
dence with consent and did not perform a search, we find no
error in the district court’s denial of Langley’s motion to sup-
press. Further, even if an unlawful entry or search occurred, the
admission of the handgun into trial evidence was cumulative,
and thus harmless error. We therefore affirm Langley’s convic-
tion and sentence.
                                                     Affirmed.
